Case 3:17-cv-02366-BAS-KSC Document 807 Filed 05/26/22 PageID.70783 Page 1 of 2




                      UNITED STATES COURT OF APPEALS                          FILED
                               FOR THE NINTH CIRCUIT                          MAY 26 2022
                                                                          MOLLY C. DWYER, CLERK
                                                                            U.S. COURT OF APPEALS
  AL OTRO LADO, a California corporation;          No.    19-56417
  et al.,
                                                   D.C. No.
                  Plaintiffs-Appellees,            3:17-cv-02366-BAS-KSC
                                                   Southern District of California,
   v.                                              San Diego

  ALEJANDRO MAYORKAS, Secretary, US                ORDER
  Department of Homeland Security; et al.,

                  Defendants-Appellants.


  AL OTRO LADO, a California corporation;          No.    20-56287
  et al.,
                                                   D.C. No.
                  Plaintiffs-Appellees,            3:17-cv-02366-BAS-KSC

   v.

  ALEJANDRO MAYORKAS, Secretary, US
  Department of Homeland Security; et al.,

                  Defendants-Appellants,

  and

  EXECUTIVE OFFICE FOR
  IMMIGRATION REVIEW,

                  Appellant.

  Before: OWENS, FRIEDLAND, and R. NELSON, Circuit Judges.

        In response to the parties’ recent filings, the court informs the parties that, in
Case 3:17-cv-02366-BAS-KSC Document 807 Filed 05/26/22 PageID.70784 Page 2 of 2




  light of the interrelated issues presented by the two appeals, it will re-submit

  appeal No. 19-56417 for consideration and decision once briefing is complete and

  oral argument is held in appeal No. 20-56287.




                                             2
